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 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                          UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                    LOS ANGELES DIVISION
10
   In re                                         Case No. 2:21-bk-16674-ER
11
   JINZHENG GROUP (USA) LLC,                     Chapter 11
12
                Debtor and Debtor in             STIPULATION TO CONTINUE
13              Possession.                      HEARING ON PROFESSIONAL FEE
                                                 APPLICATIONS
14
                                                 Old Date
15                                               Date:    November 9, 2022
                                                 Time:    10:00 a.m.
16                                               Crtrm.: 1568
                                                          255 East Temple Street
17                                                        Los Angeles, California 90012

18                                                        New Date
                                                          Date:   December 7, 2022
19                                                        Time:   10:00 a.m.
                                                          Crtrm.: 1568
20                                                                255 East Temple Street
                                                                  Los Angeles, California 90012
21

22            The chapter 11 Debtor in Possession Jinzheng Group (USA) LLC, the Official Committee

23 of Unsecured Creditors, and Shioda Langley & Chang LLP stipulate as follows:

24            1.       The Debtor’s counsel, Danning, Gill, Israel & Krasnoff, LLP, the Committee’s

25 counsel, Pachulski Stang Ziehl & Jones, LLP, and the Debtor’s former counsel Shioda Langley &

26 Chang LLP have each filed interim fee applications set for hearing on November, 9, 2022, at 10:00
27 a.m.

28

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 1            2.       To afford all parties time to review the fee applications and to allow the Debtor to

 2 focus its time and resources on the sale of the Debtor’s real properties, the parties agree that a

 3 continuance of the hearing on fee applications is appropriate.

 4            3.       Based on the foregoing, the parties agree, stipulate, and jointly request that the Court

 5 enter an order, in a form to be lodged by the Debtor, to continue the hearing on professional fee

 6 applications from November 9, 2022, at 10:00 a.m., to December 7, 2022, at 10:00 a.m.

 7            SO STIPULATED.

 8

 9 DATED: October 21, 2022                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

10

11
                                                   By:          /s/ Zev Shechtman
12                                                       ZEV SHECHTMAN
                                                         Attorneys for Jinzheng Group (USA) LLC, Debtor
13                                                       and Debtor in Possession
14
     DATED: October ___, 2022                      PACHULSKI STANG ZIEHL & JONES LLP
15

16
                                                   By:
17                                                       TEDDY M. KAPUR
18                                                       Attorneys for Official Committee of Unsecured
                                                         Creditors
19
     DATED: October ___, 2022                      SHIODA LANGLEY & CHANG LLP
20

21

22                                                 By:
                                                         CHRISTOPHER LANGLEY
23                                                       Applicant, as Debtor’s former counsel
24

25

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Case 2:21-bk-16674-ER            Doc 416 Filed 10/21/22 Entered 10/21/22 17:16:13                 Desc
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 1           2.        To afford all parties time to review the fee applications and to allow the Debtor to
2    focus its time and resources on the sale ofthe Debtor's real properties,the parties agree that a
3    continuance ofthe hearing on fee applications is appropriate.
4            3.        Based on the foregoing,the parties agree, stipulate, and jointly request that the Court
5    enter an order,in a form to be lodged by the Debtor,to continue the hearing on professional fee
6    applications from November 9,2022,at 10:00 a.m.,to December 7,2022,at 10:00 a.m.
7            SO STIPULATED.

8

9 DATED: October              ,2022                DANNING,GILL,ISRAEL & KRASNOFF,LLP

10

11
                                                   By:
12                                                       ZEV SHECHTMAN
                                                         Attorneys for Jin^eng Group(USA)LLC,Debtor
13                                                       and Debtor in Possession

14
     DATED: October ^2022                          PACHULSKISTANG ZIEHL & JONES LLP
15

16
                                                   By:                   '
17                                                       TEDDY M.KAPIJR

18
                                                         Attorneys for Official Committee of Unsecured
                                                         Creditors
19
     DATED: October 21,2022                        SHIODA LANGLEY & CHANG LLP
20

21

22
                                                   By:
                                                         CHRISTOPHER LANGLEY
23                                                       Applicant, as Debtor's former counsel
24

25

26

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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO CONTINUE HEARING ON
PROFESSIONAL FEE APPLICATIONS will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) October 21, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 21, 2022                        Vivian Servin                                         /s/ Vivian Servin
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)


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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
